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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

SARA ARANDA CASTILLO,

               Plaintiff,

v.                                                           Case No. 1:19-CV-00183-KG-SCY

VISTA LIVING COMMUNITIES D/B/A
VISTA HERMOSA,

               Defendant.


                            NOTICE OF EXTENSION OF BRIEFING

        Defendant VLC II, LLC d/b/a Vista Hermosa (incorrectly identified as Vista Living

Communities d/b/a Vista Hermosa) hereby notify the Court that the parties have agreed to

extend the deadline for Defendants to file their response to Plaintiff’s Motion to Remand

[Doc. 6]. Defendant will file and serve the response on or before May 3, 2019.

Dated: April 25, 2019                     RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                          By         /s/ Krystle A. Thomas
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2019, I filed the foregoing pleading electronically
through the CM/ECF system, which caused all parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing.

                                      RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                      By __/s/ Krystle A. Thomas______________________
                                             Krystle A. Thomas




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